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 SO ORDERED.

 SIGNED this 10 day of July, 2012.



                                                     ________________________________________
                                                             Stephani W. Humrickhouse
                                                           United States Bankruptcy Judge
 ____________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION

 IN RE:                                                               CASE NO.

 CYRUS MEAD, IV                                                       10-09630-8-SWH

        DEBTOR

          SUPPLEMENTAL ORDER REGARDING MOTION FOR CONTEMPT

        On June 7, 2012, a hearing took place in Raleigh, North Carolina, regarding the debtor’s

 motion to hold Madeleine M. Ward in contempt of court for violating the court’s order dated

 February 24, 2012 (the “Prior Contempt Order”). The Prior Contempt Order held Ms. Ward in

 contempt of the discharge injunction and imposed sanctions in the amount of $4,469, to be paid to

 The Janvier Law Firm within 14 days. Ms. Ward did not pay the sanctions, but did offer to pay in

 installments of $25 per month, however the offer was declined.

        The Janvier Law Firm requests an order of contempt, imposing additional sanctions of

 $5,000, and suggests as a consequence of nonpayment that Ms. Ward forfeit an in rem claim to

 property in Illinois that has been the subject of previous disputes between the parties. Counsel for

 Ms. Ward contends that she does not have the ability to pay even the initial sanction within a

 reasonable time.
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        As was directed in the court’s June 15, 2012 order, Illinois counsel for Ms. Ward, Mr. Stein,

 provided the court with documentation concerning her present financial condition, including a

 summary of events which allegedly led up to that financial condition in an effort to show the court

 that since Ms. Mead could not afford to pay the monetary sanctions imposed in the February 24,

 2012 order, she could not have willfully violated that order warranting additional sanctions.

        The court has thoroughly reviewed the documentation provided by Mr. Stein on behalf of

 Ms. Ward and finds that Ms. Ward could not in fact pay the $4,469 in sanctions in 14 days, and

 therefore did not willfully violate the February 24, 2012 order. The court does find, however, that

 Ms. Ward is able to pay the sanctions award through a reasonable payment plan.

 It is therefore ORDERED:

        1)      Within 14 days of the date of this order, Ms. Ward shall provide the court and

                William P. Janvier with a statement, signed under penalty of perjury, attesting to the

                accuracy of the documentation provided by Mr. Stein.

        2)      The February 24, 2012 contempt order is modified to provide for the payment of

                $4,469 to the Janvier Law Firm as follows:

                       a. $1,000 by January 31, 2013

                       b. $1,000 by July 31, 2013

                       c. $1,000 by January 31, 2014

                       d. $1,000 by July 31, 2014

                       e. $469 by January 31, 2015

        3)      In the event any payment provided in paragraph 2 above is not received by the

                Janvier Law Firm by the date set forth, Ms. Mead shall provide Mr. Janvier with a


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            detailed accounting of all income received and expenses paid during the preceding

            period, i.e., the date of the previous payment or due date.

       4)   Upon review of the financial documentation, Mr. Janvier may request that the court

            hold Ms. Mead in willful contempt of this order, provided however, failure by

            Mr. Janvier to pursue contempt for failure to pay any specific payment shall not

            constitute a waiver of the right to request contempt for another payment or

            cumulative defaults.

       SO ORDERED.

                                   END OF DOCUMENT




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